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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

MIKE HOFER, INDIVIDUALLY, AND                    ) Case No. 2:16-cv-00541-JMV-MF
DERIVATIVELY ON BEHALF OF                        )
STRAIGHT PATH COMMUNICATIONS,                    )
INC.,                                            )
                                                 )
Plaintiff,                                       )
                                                 )
v.                                               )
                                                 )
HOWARD JONAS, DAVIDI JONAS,                      )
JONATHAN RAND, WILLIAM F. WELD,                  )
K. CHRIS TODD, and FRED S. ZEIDMAN,              )
                                                 )
Defendants,                                      )
                                                 )
and                                              )
                                                 )
STRAIGHT PATH COMMUNICATIONS,                    )
INC.,                                            )
                                                 )
Nominal Defendant.                               )
                                                 )


 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Rules 23.l(c) and 41(a) of the Federal Rules of Civil Procedure, plaintiff

Mike Hofer (“Plaintiff”), defendants Davidi Jonas, Howard Jonas, Jonathan Rand, K. Chris

Todd, William F. Weld and Fred S. Zeidman, and nominal defendant Straight Path

Communications Inc. (“Straight Path” or the “Company”) (collectively, “Defendants”), by and

through their undersigned counsel, hereby stipulate as follows:

        WHEREAS, on January 29, 2016, Plaintiff commenced this action (the “Action”) by

filing his Verified Shareholder Derivative Complaint for Breach of Fiduciary Duty, Abuse of

Control, Gross Mismanagement and Unjust Enrichment (ECF 1);
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       WHEREAS, at the time the Action was commenced, a putative class action alleging that

Straight Path, Davidi Jonas, Howard Jonas and Jonathan Rand had violated the federal securities

laws, captioned Zacharia v. Straight Path Communications, Inc., et al., Case No. 2:15-cv-08051-

JMV-MF (the “Securities Action”), was pending in this Court;

       WHEREAS, because Plaintiff’s claims in the Action were related to the alleged

violations of the securities laws claimed in the Securities Action, the parties to the Action agreed

to stay the Action until, inter alia, the entry of a final order dismissing the Securities Action with

prejudice (ECF 9);

       WHEREAS, on February 28, 2018, pursuant to an Agreement and Plan of Merger, dated

May 11, 2017, Verizon Communications Inc. (“Verizon”) and a wholly owned acquisition

subsidiary of Verizon (“Merger Sub”) acquired Straight Path in an all-stock transaction whereby

Merger Sub merged into Straight Path, with Straight Path continuing as the surviving corporation

as a wholly owned subsidiary of Verizon (the “Merger”);

       WHEREAS, on September 7, 2018, this Court issued a Judgment Approving Class

Action Settlement in the Securities Action, which among other things granted full and final

approval of the settlement in the Securities Action and dismissed all of the claims in the

Securities Action with prejudice;

       WHEREAS, on October 10, 2018, the Court entered an Order in this Action directing the

parties to provide a status report by October 16, 2018 (ECF 14);

       WHEREAS, on October 16, 2018, the parties notified the Court that Plaintiff has decided

to voluntarily dismiss his claims without prejudice, with each of the parties bearing its own costs

(ECF 16);




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        WHEREAS, neither Plaintiff nor his counsel have received or will receive any

compensation or consideration from Defendants in connection with the voluntary dismissal of

Plaintiff’s claims;

        WHEREAS, Defendants have agreed to dismissal of the Action on these terms;

        WHEREAS, Rule 23.1(c) of the Federal Rules of Civil Procedure requires the Court to

approve a voluntary dismissal of the Action and further requires that “[n]otice of . . . voluntary

dismissal . . . be given to shareholders or members in the manner that the court orders”; and

        WHEREAS, the parties respectfully submit that because, as a result of the Merger,

Verizon is Straight Path’s sole shareholder and has received notice of Plaintiff’s intention to

voluntarily dismiss his claims without prejudice, as confirmed by its signature below, no further

action to notify shareholders is required;

        NOW, THEREFORE, the parties hereby stipulate and agree, subject to the Court’s

approval, that:

        1.        All of the requirements of Federal Rule of Civil Procedure Rule 23.1(c) have been

satisfied, including without limitation that “[n]otice of . . . voluntary dismissal . . . be given to

shareholders or members in the manner that the court orders.”

        2.        The Action shall be, and hereby is, dismissed without prejudice.

        3.        Each party shall bear its own costs and fees.


Dated: October 24, 2018                          THE ROSEN LAW FIRM, P.A.

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Dated: October 24, 2018            WALSH PIZZI O'REILLY AND FALANGA LLP


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                                   Communications, Inc. and Defendants Davidi
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Dated: October 24, 2018            SHEARMAN & STERLING LLP


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                                   F. Weld, and Fred S. Zeidman




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                                   Attorneys for Non-Party Verizon Communications
                                   Inc.



SO ORDERED:


_________________________
Honorable Mark Falk
United States Magistrate Judge




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